       Case 3:17-cv-04934-VC Document 304 Filed 06/27/22 Page 1 of 2

                                                                        FILED
                   UNITED STATES COURT OF APPEALS                        JUN 27 2022

                                                                     MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




COUNTY OF SAN MATEO, individually             No.   18-15499
and on behalf of the People of the State of
California,                                   D.C. No. 3:17-cv-04929-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco

v.
                                              ORDER
CHEVRON CORPORATION; et al.,

             Defendants-Appellants.



CITY OF IMPERIAL BEACH,                       No.   18-15502
individually and on behalf of the People of
the State of California,                      D.C. No. 3:17-cv-04934-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco

v.

CHEVRON CORPORATION; et al.,

             Defendants-Appellants.



COUNTY OF MARIN, individually and             No.   18-15503
on behalf of the People of the State of
California,                                   D.C. No. 3:17-cv-04935-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco
        Case 3:17-cv-04934-VC Document 304 Filed 06/27/22 Page 2 of 2




 v.

CHEVRON CORPORATION; et al.,

              Defendants-Appellants.



COUNTY OF SANTA CRUZ,                          No.    18-16376
individually and on behalf of The People
of the State of California; et al.,            D.C. Nos.   3:18-cv-00450-VC
                                                           3:18-cv-00458-VC
              Plaintiffs-Appellees,                        3:18-cv-00732-VC
                                               Northern District of California,
 v.                                            San Francisco

CHEVRON CORPORATION; et al.,

              Defendants-Appellants.


Before: IKUTA, CHRISTEN, and LEE, Circuit Judges.

      The panel has unanimously voted to deny Appellants’ Petition for Rehearing

En Banc (Dkt. 318).

      The full court has been advised of the Petition for Rehearing En Banc, and

no Judge has requested a vote on whether to rehear the matter en banc. Fed. R.

App. P. 35.

      The petition for rehearing en banc is DENIED.




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